Case 4:17-cv-00574-BRW Document 2 Filed 09/07/17 Page 1 of 9
Case 4:17-cv-00574-BRW Document 2 Filed 09/07/17 Page 2 of 9
Case 4:17-cv-00574-BRW Document 2 Filed 09/07/17 Page 3 of 9
Case 4:17-cv-00574-BRW Document 2 Filed 09/07/17 Page 4 of 9
Case 4:17-cv-00574-BRW Document 2 Filed 09/07/17 Page 5 of 9
Case 4:17-cv-00574-BRW Document 2 Filed 09/07/17 Page 6 of 9
Case 4:17-cv-00574-BRW Document 2 Filed 09/07/17 Page 7 of 9
Case 4:17-cv-00574-BRW Document 2 Filed 09/07/17 Page 8 of 9
Case 4:17-cv-00574-BRW Document 2 Filed 09/07/17 Page 9 of 9
